                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA


 UNITED STATES OF AMERICA,
                                                      Case No. 3:23-cr-00091-RRB
                      Plaintiff,

        vs.                                           ORDER ACCEPTING
                                                   RECOMMENDATION OF THE
 JAMES ANTHONY SCHWARZ,                            MAGISTRATE JUDGE UPON A
                                                       PLEA OF GUILTY
                      Defendant.




              The Court hereby ACCEPTS and ADOPTS the recommendation of the

Magistrate Judge at Docket 512 wherein the Magistrate Judge accepted Defendant’s guilty

pleas to Counts 2 and 14 of the Indictment and recommended that the Court do the same.

Based thereon, and after a review of the record, the Court hereby ACCEPTS Defendant’s

guilty pleas and enters an adjudication of guilt thereon.

              IT IS SO ORDERED this 14th day of May, 2025, at Anchorage, Alaska.


                                                            /s/ Ralph R. Beistline
                                                          RALPH R. BEISTLINE
                                                     Senior United States District Judge




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